        Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 1 of 64


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14

15                                    UNITED STATES DISTRICT COURT
16                                EASTERN DISTRICT OF CALIFORNIA
17
     RICHARD MARIN, SAMANTHA LOPEZ,                     ) Case No.:
18   individually and on behalf of all others similarly )
     situated,                                          ) DEFENDANT’S NOTICE OF
19                                                   )   REMOVAL PURSUANT TO 28
                        Plaintiffs,                  )   U.S.C. §§ 1331, 1332(d)(2), 1441,
20                                                   )   1446, AND 1453
             vs.                                     )
21                                                   )
     CARGILL MEAT SOLUTIONS                          )   Complaint Filed: February 23, 2022
22   CORPORATION, a Delaware Corporation;            )
     And DOES 1 - 50, inclusive,                     )   Removed: May 12, 2022
23                                                   )
                        Defendant.                   )
24                                                   )
                                                     )
25                                                   )
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                                      DEFENDANT’S NOTICE OF REMOVAL
     LEGAL\57713540\1
        Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 2 of 64


 1
                                              TABLE OF CONTENTS
 2                                                                                                                    Page
 3   I. PLEADINGS, PROCESS AND ORDERS ............................................................. 1
 4   II. THIS COURT HAS JURISDICTION ..................................................................... 1
     III. VENUE IS PROPER ............................................................................................... 2
 5
     IV. DEFENDANT HAS SATISFIED THE REQUIREMENTS FOR REMOVAL ..... 2
 6         A.  This Removal Petition is Timely ............................................................... 2
 7         B.  The Procedural Requirements of Removal Are Met.................................. 2
     V. THIS COURT HAS JURISDICTION UNDER CAFA .......................................... 3
 8
           A.  Plaintiffs Assert a Class Action Against Defendant .................................. 4
 9         B.  The Number of Putative Class Members Exceeds 100.............................. 4
10         C.  Defendant is not a Governmental Entity .................................................... 5
           D.  There Is Diversity Between At Least One Class Member
11             And Any One Defendant............................................................................ 5
12         E.  The Amount in Controversy Exceeds $5,000,000 ..................................... 6
     VI. CONCLUSION ........................................................................................................ 9
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       -i-
                                               TABLE OF CONTENTS
     LEGAL\57713540\1
         Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 3 of 64


 1                                           TABLE OF AUTHORITIES
 2
                                                                                                                     Page(s)
 3
      Federal Cases
 4
      Bodner v. Oreck Direct, LLC,
 5
        No. C 0604756, 2006 WL 2925691 (N.D. Cal. Oct. 12, 2006) ................................ 4
 6
      Dart Cherokee Basin Operating Co. v. Owens,
 7      135 S.Ct. 547 (2014).................................................................................................. 3
 8
   Hanlon v. Chrysler Corp.,
 9   150 F.3d 1011 (9th Cir. 1998) ................................................................................. 13
10 Hertz Corp. v. Friend,
11   130 U.S. 1181 (2010) ................................................................................................ 5
12    Kenneth Rothschild Trust v. Morgan Stanley Dean Witter,
        199 F. Supp. 2d 993 (C.D. Cal. 2002) ................................................................. 6, 10
13

14    Lew v. Moss,
        797 F.2d 747 (9th Cir. 1986) ..................................................................................... 5
15

16
      Lewis v. Verizon Communications, Inc.,
        627 F.3d 395 (9th Cir. 2010) ..................................................................................... 6
17
      Lowdermilk v. U.S. Bank Nat’l Ass’n,
18      479 F.3d 994 (9th Cir. 2007) ................................................................................... 13
19
      Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc.,
20      526 U.S. 344 (1999)................................................................................................... 2
21 Rippee v. Boston Market Corp.,
22    408 F. Supp. 2d 982 (S.D. Cal. 2005) ....................................................................... 6
23 Standard Fire Ins. Co. v. Knowles,
24
      133 S.Ct. 1345 (2013).............................................................................................. 13

25    State Farm Mut. Auto. Ins. Co. v. Dyer,
         19 F.3d 514 (10th Cir. 1994) ..................................................................................... 5
26

27    Valdez v. Allstate Ins. Co.,
         372 F.3d 1115 (9th Cir. 2004) ................................................................................... 6
28
                                                       -ii-
                                              TABLE OF AUTHORITIES
      LEGAL\57713540\1
         Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 4 of 64


 1   State Cases
 2
   Cortez v. Purolator Air Filtration Products Co.,
 3   23 Cal. 4th 163 (2000) ............................................................................................... 7
 4 Pineda v. Bank of Am., N.A.,
 5    50 Cal. 4th 1389 (2010) ........................................................................................... 11

 6   Federal Statutes
 7   28 U.S.C. § 84(a) ............................................................................................................ 2
 8
     28 U.S.C. § 1331 ......................................................................................................... 1, 2
 9
     28 U.S.C. § 1332(c)(1).................................................................................................... 5
10
     28 U.S.C. § 1332(d)(1)(B) .............................................................................................. 3
11

12   28 U.S.C. § 1332(d)(2) ............................................................................................... 1, 3
13   28 U.S.C. § 1332(d)(2)(A) .......................................................................................... 5, 6
14   28 U.S.C. § 1332(d)(5) ................................................................................................... 3
15
     28 U.S.C. § 1332(d)(5)(B) .............................................................................................. 5
16
     28 U.S.C. § 1332(d)(6) ............................................................................................... 3, 7
17

18
     28 U.S.C. § 1391 ............................................................................................................. 2

19   28 U.S.C. § 1441 ....................................................................................................... 1, 14
20   28 U.S.C. § 1446 ......................................................................................................... 1, 2
21   28 U.S.C. § 1446(a) .................................................................................................... 2, 3
22
     28 U.S.C. § 1446(b) ........................................................................................................ 2
23
     28 U.S.C. § 1446(d) ........................................................................................................ 2
24

25
     28 U.S.C. § 1453 ..................................................................................................... 1, 2, 6

26   Class Action Fairness Act of 2005 29 U.S.C. § 1332(d) ....................................... passim
27

28
                                                         -iii-
                                                TABLE OF AUTHORITIES
     LEGAL\57713540\1
        Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 5 of 64


 1   State Statutes
 2
     Cal. Bus. & Prof. Code § 17200 ..................................................................................... 1
 3
     Cal. Bus. & Prof. Code § 17208 ..................................................................................... 7
 4
     Cal. Code Civ. Proc. § 338(a) ....................................................................................... 11
 5

 6   Cal. Code Civ. Proc. § 340(a) ....................................................................................... 12

 7   Cal. Code Civ. Proc. § 382 ............................................................................................. 4
 8   California Labor Code § 201 .................................................................................... 1, 12
 9
     California Labor Code § 202 .......................................................................................... 1
10
     California Labor Code § 204 .................................................................................... 1, 12
11
     California Labor Code § 226 ........................................................................................ 12
12

13   California Labor Code § 226(a) ...................................................................................... 1
14   California Labor Code § 226.7 ....................................................................................... 1
15   California Labor Code § 510 .......................................................................................... 1
16
     California Labor Code § 512(a) ...................................................................................... 1
17
     California Labor Code § 1174(d) ................................................................................... 1
18

19
     California Labor Code § 1194 ........................................................................................ 1

20   California Labor Code § 1197 ........................................................................................ 1
21   California Labor Code § 1197.1 ..................................................................................... 1
22   California Labor Code § 1198 ........................................................................................ 1
23
     California Labor Code § 2698 ........................................................................................ 1
24
     California Labor Code § 2800 ........................................................................................ 1
25

26
     California Labor Code § 2802 ........................................................................................ 1

27   California Unfair Competition Law................................................................................ 7
28
                                                       -iv-
                                              TABLE OF AUTHORITIES
     LEGAL\57713540\1
        Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 6 of 64


 1   Rules
 2
     Federal Rule of Civil Procedure, Rule 6(a)(1)(C) .......................................................... 2
 3
     Federal Rules of Civil Procedure, Rule 8(a)................................................................... 3
 4
     Federal Rules of Civil Procedure, Rule 11 ..................................................................... 2
 5

 6   Federal Rules of Civil Procedure, Rule 23 ..................................................................... 3

 7   Regulations
 8   Senate Judiciary Committee Report, S. REP. 109-14 ................................................ 6, 7
 9
     Other Authorities
10
     Lara v. Trimac Transp. Servs. Inc.,
11      No. CV 10- 4280-GHK ............................................................................................. 6
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     -v-
                                            TABLE OF AUTHORITIES
     LEGAL\57713540\1
          Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 7 of 64


 1           PLEASE TAKE NOTICE that Defendant CARGILL MEAT SOLUTIONS

 2   CORPORATION (“CMSC” or “Defendant”), hereby removes to this Court the state

 3   court action described below, pursuant to 28 U.S.C. §§ 1331, 1332(d)(2), 1441, 1446,

 4   and 1453. In support thereof, Defendant states as follows:

 5   I.      PLEADINGS, PROCESS AND ORDERS

 6           1.         On February 23, 2022, this putative class action was commenced and is

 7   currently pending against Defendant in the Superior Court of California, County of

 8   Fresno as Case No. 22CECG00573, entitled RICHARD MARIN, SAMANTHA LOPEZ,

 9   on behalf of the general public as private attorney general, Plaintiffs, vs. CARGILL

10   MEAT SOLUTIONS CORPORATION, a Delaware Corporation; and DOES 1 - 50,

11   inclusive, Defendant.

12           2.         The Complaint asserted the following causes of action: (1) failure to pay

13   wages including overtime as required by California Labor Code §§ 510 and 1194; (2)

14   failure to provide meal periods as required by California Labor Code §§ 226.7, 512 and

15   IWC Wage Orders; (3) failure to provide rest periods as required by California Labor

16   Code §§ 226.7, 512; (4) failure to pay timely wages as required by California Labor

17   Code § 203; (5) failure to provide accurate itemized wage statements as required by

18   California Labor Code § 226; (6) failure to provide day of rest as required by California

19   Labor Code §§ 551 and 552; (7) failure to indemnify necessary business expenses as

20   required by California Labor Code § 2802; (8) failure to accurately record and pay sick

21   leave as required by California Labor Code § 246; (9) unlawful deductions pursuant to

22   California Labor Code § 221; and (10) violation of California Business & Professions

23   Code §§ 17200, et. seq. (Exhibit A, Complaint.)

24   II.     THIS COURT HAS JURISDICTION

25           3.         This Court has original jurisdiction over this action pursuant to the Class

26   Action Fairness Act of 2005 (“CAFA”) 29 U.S.C. § 1332(d), which vests the United

27   States district courts with original jurisdiction of any civil action: (a) that is a class

28                                             -1-
                                  DEFENDANTS’ NOTICE OF REMOVAL
     LEGAL\57713540\1
        Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 8 of 64


 1   action with a putative class of more than a hundred (100) members; (b) in which any
 2   member of a class of plaintiffs is a citizen of a State different from any defendant; and
 3   (c) in which the matter in controversy exceeds the sum or value of $5,000,000, exclusive
 4   of interest and costs. 28 U.S.C. §1332(d). CAFA authorizes removal of such actions in
 5   accordance with 28 U.S.C. §§ 1446 and 1453. As set forth below, this case meets all of
 6   CAFA’s requirements for removal and is timely and properly removed by the filing of
 7   this Notice.
 8           4.         Pursuant to 28 U.S.C. § 1446(a), a notice of removal must: (1) be signed
 9   pursuant to Rule 11 of the Federal Rules of Civil Procedure, (2) contain a “short and
10   plain statement of the grounds for removal,” and (3) be accompanied by a copy of all
11   process, pleadings, and orders served on Defendant in the action.
12   III.    VENUE IS PROPER
13           5.         With respect to this petition for removal, venue is proper in this Court
14   pursuant to 28 U.S.C. sections 84(b), 1391 and 1446, this action was originally brought
15   in the Superior Court of California for the County of Fresno (Case No. 22CECG00573).
16   IV.     DEFENDANT SATISFIED THE REQUIREMENTS FOR REMOVAL
17           A.         This Removal Petition is Timely
18           6.         Plaintiffs personally served Defendant with the Summons and Complaint
19   on April 15, 2022, as is attested by Plaintiffs’ Notice of Service of Process in Exhibit
20   B. Pursuant to 28 U.S.C. section 1446(b) and Federal Rule of Civil Procedure, Rule
21   6(a)(1)(C), this Notice of Removal is timely filed as it is filed within thirty (30) days
22   after Defendant was served with the Summons and Complaint and within one (1) year
23   after commencement of this action. See Murphy Bros., Inc. v. Michetti Pipe Stringing,
24   Inc., 526 U.S. 344, 356 (1999) (30-day removal period runs from the service of the
25   summons and complaint).
26           B.         The Procedural Requirements of Removal Are Met
27           7.         On May 12, 2022, prior to the filing of Defendant’s Notice of Removal,
28
                                              -2-
                                 DEFENDANT’S NOTICE OF REMOVAL
     LEGAL\57713540\1
          Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 9 of 64


 1   Defendant filed and served an Answer to Plaintiffs’ Complaint in Fresno Superior
 2   Court. A true and correct copy of the Answer and the accompanying proof of service is
 3   attached as Exhibit C.
 4           8.         Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings and orders
 5   served upon Defendant are attached hereto as Exhibit D to this Notice of Removal (with
 6   the exception of Plaintiffs’ Complaint, which is attached as Exhibit A.)
 7           9.         Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being
 8   served upon counsel for Plaintiffs and a “Notice to State Court and Adverse Parties of
 9   Removal of Action” (to include a copy of this Notice of Removal and all Exhibits) will
10   be promptly filed with the Clerk of the Superior Court in Fresno County, and served on
11   all other parties to this action.
12   V.      THIS COURT HAS JURISDICTION UNDER CAFA
13           10.        In its decision in Dart Cherokee Basin Operating Co. v. Owens, 135 S.Ct.
14   547 (2014), the United States Supreme Court clarified the standards applicable to
15   notices of removal in CAFA cases, confirming a liberal standard in favor of removing
16   Defendant. Specifically the Supreme Court found that the similarity of language
17   between the removal statute and Rule 8(a) can only mean that the same liberal pleading
18   standards applied to complaints must also apply to notices of removal. Id. The Supreme
19   Court also held in Dart that a removing defendant is not required to include evidence
20   with its pleading in order to establish that the elements of federal subject matter
21   jurisdiction are met. Id. at 552-553. Only if the Court or another party challenges
22   jurisdiction should the Court require a removing defendant to prove, under the
23   applicable “preponderance” standard, that the jurisdictional requirements are met. “In
24   sum, as specified in § 1446(a), a defendant’s notice of removal need include only a
25   plausible allegation that the amount in controversy exceeds the jurisdictional threshold.
26   Evidence establishing the amount is required by § 1446(c)(2)(B) only when the
27   Plaintiffs contests, or the court questions, the defendant’s allegation.” Id. at 554. In
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                                               -3-
                                  DEFENDANT’S NOTICE OF REMOVAL
     LEGAL\57713540\1
       Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 10 of 64


 1   addition, there exists no “presumption against removal” in CAFA cases, because CAFA
 2   was specifically enacted by Congress “to facilitate adjudication of certain class actions
 3   in federal court.” Id.
 4           11.        Under CAFA, federal district courts have original jurisdiction over a class
 5   action if (1) it involves 100 or more putative class members, (2) any class member is a
 6   citizen of a state different from any defendant, and (3) the aggregated amount in
 7   controversy exceeds $5 million (exclusive of costs and interest). See 28 U.S.C. §§
 8   1332(d)(2), d(5), and (d)(6). CAFA applies to certain “class actions,” which the statute
 9   defines as “any civil action filed under rule 23 of the Federal Rules of Civil Procedure
10   or similar State statute.” 28 U.S.C. § 1332(d)(1)(B).
11           A.         Plaintiffs Assert a Class Action Against Defendant
12           12.        Plaintiffs clearly bring their lawsuit as a class action. The Complaint
13   caption is titled “CLASS ACTION COMPLAINT.” Plaintiffs state in the very first
14   paragraph that the case is a class action pursuant to California Code of Civil Procedure
15   § 382. (Exhibit A, Complaint at Caption and ¶¶ 1, 12.) Accordingly, CAFA applies.
16   See Bodner v. Oreck Direct, LLC, No. C 0604756, 2006 WL 2925691, at *3 (N.D. Cal.
17   Oct. 12, 2006) (CAFA applies where “Plaintiffs’ complaint alleges that the action is a
18   class action, and recites the prerequisites to a class action under . . . California Code of
19   Civil Procedure Section 382”).
20           B.         The Number of Putative Class Members Exceeds 100
21           13.        Plaintiffs seek to represent a class of all California citizens currently and
22   formerly employed by Defendant as non-exempt employees in the State of California
23   through the date of class certification. (“Class”) (Exhibit A, Complaint at ¶ 12.)
24           14.        Plaintiffs’ Complaint alleges that Defendant employed an excess of 100
25   non-exempt employees during the four year statutory period. (Exhibit A, Complaint at
26   ¶ 17.) Thus, as defined in the Complaint, the putative class exceeds 100.
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28
                                               -4-
                                  DEFENDANT’S NOTICE OF REMOVAL
     LEGAL\57713540\1
       Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 11 of 64

             C.         Defendant is not a Governmental Entity
 1
             15.        Under 28 U.S.C. § 1332(d)(5)(B), CAFA does not apply to class actions
 2
     where “primary Defendants are States, State officials, or other governmental entities
 3
     against whom the district court may be foreclosed from ordering relief.”
 4
             16.        Defendant is a corporation incorporated in Delaware and is not a state, state
 5
     official or other government entity exempt from CAFA.
 6
             D.         There Is Diversity Between At Least One Class Member And Any
 7                      One Defendant
 8           17.        CAFA’s minimal diversity requirement is satisfied, inter alia, when “any
 9   member of a class of Plaintiffs is a citizen of a State different from any defendant.” 28
10   U.S.C. §§ 1332(d)(2)(A); 1453(b). Minimal diversity of citizenship exists here because
11   Plaintiffs and Defendant are citizens of different states.
12           18.        Plaintiffs state that they are residents of California. (Exhibit A, Complaint
13   at ¶ 6.) Allegations of residency in a state court complaint can create a rebuttable
14   presumption of domicile supporting diversity of citizenship. Lew v. Moss, 797 F.2d 747,
15   751 (9th Cir. 1986); see also State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 519-
16   20 (10th Cir. 1994) (allegation by a party in state court complaint of residency “created
17   a presumption of continuing residence in [state] and put the burden of coming forward
18   with contrary evidence on the party seeking to prove otherwise”). At the time Plaintiffs
19   commenced this action and at the time of removal, Plaintiffs alleged that they both
20   resided in the State of California. (Exhibit A, Complaint at ¶ 6.) Therefore, Plaintiffs
21   are both citizens of California for diversity purposes.
22           19.        Conversely, Defendant is not citizen of California. It is a citizen of
23   Delaware and Kansas. For diversity purposes, a corporation is deemed a citizen of its
24   state of incorporation and the state where it has its principal place of business. 28 U.S.C.
25   § 1332(c)(1). The principal place of business is “where a corporation’s officers direct,
26   control, and coordinate the corporation’s activities.” See Hertz Corp. v. Friend, 130
27   U.S. 1181, 1192-93 (2010). At the time this action was commenced in state court,
28
                                               -5-
                                  DEFENDANT’S NOTICE OF REMOVAL
     LEGAL\57713540\1
         Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 12 of 64


 1   Defendant was, and remains, a Delaware corporation with its principal place of business
 2   in Kansas, where it has its corporate offices and headquarters and where Defendant’s
 3   executive and administrative functions are located.
 4           20.        Accordingly, the named Plaintiffs are citizens of a state different from
 5   Defendant, and diversity exists for purposes of CAFA jurisdiction. See 28 U.S.C. §§
 6   1332(d)(2)(A), 1453.
 7           E.         The Amount in Controversy Exceeds $5,000,0001
 8           21.        CAFA’s $5,000,000 threshold for the “amount in controversy,” is not the
 9   same as the amount ultimately recovered. Lara v. Trimac Transp. Servs. Inc., No. CV
10   10- 4280-GHK JCx, 2010 WL 3119366, at *3 (C.D. Cal. Aug. 6, 2010). Rather, in
11   assessing the amount in controversy, courts must “assume that the allegations of the
12   complaint are true and assume that a jury will return a verdict for the Plaintiffs on all
13   claims made in the complaint.” Kenneth Rothschild Trust v. Morgan Stanley Dean
14   Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002). The ultimate inquiry is what amount
15   is put “in controversy” by the Plaintiffs’ complaint, not what a defendant will actually
16   owe. Rippee v. Boston Market Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005). After
17   all, “the amount in controversy is simply an estimate of the total amount in dispute, not
18   a prospective assessment of defendant’s liability.” Lewis v. Verizon Communications,
19   Inc., 627 F.3d 395, 400 (9th Cir. 2010) (citing McPhail v. Deere & Co., 529 F.3d 947,
20   956 (10th Cir. 2008)). Additionally, “the amount in controversy is not measured by the
21   low end of an open-ended claim, but rather by a reasonable reading of the value of the
22   rights being litigated”); Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004)
23   (stating that “[t]he amount-in-controversy inquiry in the removal context is not confined
24   to the face of the complaint”) (citations omitted).
25
     1
       The alleged damage calculations set forth in the instant Notice of Removal are provided for purposes
26   of removal only and based on the presumption of truth to which Plaintiffs’ allegations are entitled.
27   Defendant denies that Plaintiffs or any putative class member is entitled to any relief whatsoever and
     expressly reserves the right to challenge Plaintiffs’ claims and their alleged damages at every stage of
28   this case.
                                                      -6-
                                DEFENDANT’S NOTICE OF REMOVAL
     LEGAL\57713540\1
       Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 13 of 64


 1           22.        Congress intended federal jurisdiction to be appropriate under CAFA “if
 2   the value of the matter in litigation exceeds $5,000,000 either from the viewpoint of the
 3   Plaintiffs or the viewpoint of the defendant, and regardless of the type of relief sought
 4   (e.g., damages, injunctive relief, or declaratory relief).” Senate Judiciary Committee
 5   Report, S. REP. 109-14 at 42. In addition, the Senate Judiciary Committee’s Report on
 6   the final version of CAFA makes clear that any doubts regarding the maintenance of
 7   interstate class actions in state or federal court should be resolved in favor of federal
 8   jurisdiction. S. REP. 109-14 at 42-43 (“[I]f a federal court is uncertain about whether
 9   ‘all matters in controversy’ in a purported class action ‘do not in the aggregate exceed
10   the sum or value of $5,000,000,’ the court should err in favor of exercising jurisdiction
11   over the case … [Section 1332(d)] should be read broadly, with a strong preference
12   that interstate class actions should be heard in federal court if removed by the
13   defendant.” (emphasis added)]
14           23.        In calculating the amount in controversy, the claims of class members may
15   be aggregated to determine whether the amount in controversy has been satisfied. 28
16   U.S.C. § 1332(d)(6).
17           24.        Plaintiffs’ Complaint alleges (without any facts or explanation) that the
18   total aggregate amount in controversy is less than the $5,000,000 CAFA jurisdictional
19   threshold. (Exhibit A, Complaint at ¶ 4.) However, as demonstrated herein and despite
20   the allegation, the Plaintiffs’ allegations, when accepted as true, do place more than
21   $5,000,000 in controversy in this lawsuit. By demonstrating that the amount in
22   controversy exceeds the CAFA threshold, Defendant in no way concedes the validity
23   of Plaintiffs’ claims in any respect or the likelihood that Plaintiffs will obtain class
24   certification or recover anything.
25                 Plaintiffs’ Fourth Cause of Action (Final Wages Not Timely Paid)
26           25.        With respect to their fourth cause of action for waiting time penalties,
27   Plaintiffs allege, without qualification, that Defendant “willfully failed and refused to
28
                                               -7-
                                  DEFENDANT’S NOTICE OF REMOVAL
     LEGAL\57713540\1
         Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 14 of 64


 1   pay Plaintiffs and the Class members their wages, earned and unpaid, either at the time
 2   or discharge, or within seventy-two (72) hours of their voluntarily leaving the
 3   Defendant’s employ,” and that these wages include regular and overtime. (Exhibit A,
 4   Complaint at ¶ 92.) Plaintiffs allege that Defendant is liable to Plaintiffs and the putative
 5   class members2 for waiting time penalties pursuant to Labor Code § 203, in the form of
 6   continued compensation for thirty work days. (Exhibit A, Complaint at ¶¶ 91, 93
 7   Complaint at Prayer for Relief, Fourth Cause of Action.) The statute of limitations on
 8   Plaintiffs’ waiting time penalties claim is three years. See Pineda v. Bank of Am., N.A.,
 9   50 Cal. 4th 1389, 1404 (2010); see also Cal. Civ. Proc. Code § 338(a).
10           26.        Based on a review of Defendant’s employment records, Defendant has had
11   at least 1,579 putative class members terminate their employment within the three year
12   statute of limitations (either voluntarily or involuntarily.) Using the average rate of pay
13   for these employees for the past three years according to Defendant’s pay data, which
14   is over $16.55 per hour, as the applicable rate of pay, and assuming a conservative
15   average shift length of 8 hours, the amount in controversy for Plaintiffs’ waiting time
16   claim is more than $6,271,788, based on the calculation of 1,579 terminated putative
17   class members x an average rate of pay of $16.55 per hour x 8 hours x 30 days.
18           27.        Based on the foregoing, the amount in controversy for Plaintiffs’ claims is
19   well in excess of the $5,000,000 CAFA threshold, on the fourth cause of action only,
20   not even accounting for the amounts at issue for Plaintiffs’ other nine causes of action.
21           28.        Thus, the total minimum amount placed in controversy by Plaintiffs’
22   Complaint is well over $5,000,000.
23                      Attorney’s Fees
24           29.        Attorneys’ fees are also includable in the amount in controversy where the
25   underlying statute authorizes an award of fees. Lowdermilk v. U.S. Bank Nat’l Ass’n,
26   479 F.3d 994, 1000 (9th Cir. 2007) overruled on other grounds by Standard Fire Ins.
27   2
      Plaintiffs confusingly refer to a “Non-Exempt Production Employee class” in this cause of action
28   but there is no such class (or subclass) defined in the Complaint. See Complaint, ¶¶ 12-13.
                                                      -8-
                                 DEFENDANT’S NOTICE OF REMOVAL
     LEGAL\57713540\1
       Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 15 of 64


 1   Co. v. Knowles, 133 S.Ct. 1345 (2013). Plaintiffs are seeking attorneys’ fees with
 2   respect to causes of action one, eight, and ten. (Exhibit A, Complaint at Prayer for
 3   Relief.) The Ninth Circuit has recognized 25% as an appropriate benchmark for fee
 4   awards in class action cases. See Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th
 5   Cir. 1998). Under that benchmark, and based on the demonstrated amount in
 6   controversy on the fourth cause of action, it is reasonable to place the attorneys’ fees in
 7   controversy at a minimum of $1,567,947. Adding that amount to the previously
 8   calculated minimum value only serves to underscore the conclusion that this case easily
 9   exceeds the $5,000,000 CAFA threshold.
10   VI.     CONCLUSION
11           30.        This Court has original jurisdiction over Plaintiffs’ claims by virtue of the
12   Class Action Fairness Act. To the extent that this Court lacks original jurisdiction over
13   any of Plaintiffs’ claims, it has supplemental jurisdiction over those claims. This action
14   is thus properly removable to federal court pursuant to 28 U.S.C. § 1441. In the event
15   this Court has a question regarding the propriety of this Notice of Removal, Defendant
16   requests the opportunity to submit evidence, points and authorities supporting the
17   removal of this action.
18           WHEREFORE, Defendant removes the above-action to this Court.
19

20   Dated: May 13, 2022                          COZEN O’CONNOR
21
                                                  By: /s/ Jason E. Barsanti
22                                                     Jason E. Barsanti
                                                       Ethan Chernin
23                                                     Brett Greving
                                                       Attorneys for Defendant
24                                                     CARGILL MEAT SOLUTIONS
                                                       CORPORATION
25

26

27

28
                                               -9-
                                  DEFENDANT’S NOTICE OF REMOVAL
     LEGAL\57713540\1
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 16 of 64




       EXHIBIT A
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 17 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 18 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 19 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 20 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 21 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 22 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 23 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 24 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 25 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 26 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 27 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 28 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 29 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 30 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 31 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 32 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 33 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 34 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 35 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 36 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 37 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 38 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 39 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 40 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 41 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 42 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 43 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 44 of 64




       EXHIBIT B
                            Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 45 of 64
                                                                                                                                          Computershare Governance Services, Inc.
                                                                                                                                           100 Beard Sawmill Road, Shelton, CT 06484



                                                                                                                                                                                      04/19/2022
                    Cargill Meat Solutions Corporation
                    Kristin Mitchell
                    Cargill
                    15407 McGinty Road West, MS24
                    Wayzata MN 55391



SERVICE OF PROCESS NOTICE                                                                                                                                                         Item: 2022-140


The following is a courtesy summary of the enclosed document(s). ALL information should be verified by you.

Note: Any questions regarding the substance of the matter described below, including the status or how to respond, should be directed to the contact set forth in line 12 below or
to the court or government agency where the matter is being heard.



 1.                            Entity Served:           Cargill Meat Solutions Corporation

 2.                           Title of Action:          Richard Marin, et al. vs. Cargill Meat Solutions Corporation, et al.

 3.                 Document(s) Served:                 Summons
                                                        Civil Case Cover Sheet
                                                        Class Action Complaint
                                                        Notice of Case Management Conference and Assignment of Judge for All Purposes

 4.                            Court/Agency:            Fresno County Superior Court

 5.                             State Served:           California

 6.                            Case Number:             22CECG00573

 7.                                Case Type:           Failure to Pay Wages Including Overtime

 8.                     Method of Service:              Hand Delivered

 9.                           Date Received:            Friday 04/15/2022

 10.                           Date to Client:          Tuesday 04/19/2022

 11.         # Days When Answer Due:                    30                                    CAUTION: Client is solely responsible for verifying the accuracy of the estimated Answer Due
                     Answer Due Date:                   Sunday 05/15/2022                     Date. To avoid missing a crucial deadline, we recommend immediately confirming in writing
                                                                                              with opposing counsel that the date of the service in their records matches the Date Received.

 12.                              Sop Sender:           James R. Hawkins, Esq.
                (Name, City, State, and Phone Number)
                                                        Irvine, CA
                                                        949-387-7200


 13.               Shipped To Client By:                Email Only with PDF Link

 14.                     Tracking Number:

 15.                              Handled By:           051

 16.                                       Notes:       Please note there are other Due Dates listed in the document

NOTE: This notice and the information above is provided for general informational purposes only and should not be considered a legal opinion. The client and their legal
counsel are solely responsible for reviewing the service of process and verifying the accuracy of all information. At ComputerShare, we take pride in developing systems that
effectively manage risk so our clients feel comfortable with the reliability of our service. We always deliver service of process so our clients avoid the risk of a default judgment.
As registered agent, our role is to receive and forward service of process. To decrease risk for our clients, it is not our role to determine the merits of whether service of
process is valid and effective. It is the role of legal counsel to assess whether service of process is invalid or defective. Registered agent services are provided by United Agent
Group Inc.
                                                                 Phone: 866 820 7754, Option 2 | www.cgsregisteredagent.com
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 46 of 64




       EXHIBIT C
                                                                               Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 47 of 64

                                                                        1   Jason Barsanti (SBN 235807)
                                                                              jbarsanti@cozen.com
                                                                        2   Ethan Chernin (SBN 273906)
                                                                              echernin@cozen.com
                                                                        3   Brett Greving (SBN 270883)
                                                                             bgreving@cozen.com
                                                                        4   COZEN O'CONNOR
                                                                            501 West Broadway, Suite 1610
                                                                        5   San Diego, CA 92101
                                                                            Telephone: 619.234.1700
                                                                        6   Facsimile: 619.234.7831

                                                                        7   Attorneys for Defendant
                                                                            CARGILL MEAT
                                                                        8   SOLUTIONS CORPORATION

                                                                        9
                                                                                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                       10
                                                                                                            FOR THE COUNTY OF FRESNO
                                                                       11

                                                                       12   RICHARD MARIN, SAMANTHA LOPEZ,                      Case No.: 22CECG00573
                                                                            on behalf of the general public as private
                                                                       13   attorney general,                                   DEFENDANT CARGILL MEAT SOLUTIONS
                                                                                           Plaintiffs,                          CORPORATION’S ANSWER TO
                                                                       14
                                                                                                                                COMPLAINT
                                                                                   vs.
                 501 WEST BROADWAY, SUITE 1610




                                                                       15
COZEN O'CONNOR

                                                 SAN DIEGO, CA 92101




                                                                       16   CARGILL MEAT SOLUTIONS                              Date of first filing: February 23, 2022
                                                                            CORPORATION, a Delaware Corporation;
                                                                       17   And DOES 1 - 50, inclusive,

                                                                       18                  Defendant.

                                                                       19

                                                                       20                  Defendant CARGILL MEAT SOLUTIONS CORPORATION (“Defendant”), hereby

                                                                       21   answers the unverified Putative Class Action Complaint (the “Complaint”) brought by Plaintiffs

                                                                       22   RICHARD MARIN and SAMANTHA LOPEZ (“Plaintiffs”) and on behalf of all others similarly

                                                                       23   situated, as follows:

                                                                       24                                            GENERAL DENIAL

                                                                       25                  Pursuant to California Code of Civil Procedure § 431.30(d), Defendant denies generally

                                                                       26   each and every allegation contained in the Complaint and further denies that Plaintiffs or the allegedly

                                                                       27   similarly situated employees they purport to represent, suffered any harm, injury, damage, or loss in any

                                                                       28   amount whatsoever by reason of any acts or omissions of Defendant, and further denies that Plaintiffs,

                                                                                                                       1
                                                                                   DEFENDANT CARGILL MEAT SOLUTIONS CORPORATION’S ANSWER TO COMPLAINT
                                                                                                            Case No: 22CECG00573
                                                                               Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 48 of 64

                                                                        1   or the similarly situated employees they purport to represent, are entitled to any legal or equitable relief

                                                                        2   in any amount or manner whatsoever from Defendant.

                                                                        3

                                                                        4                                           AFFIRMATIVE DEFENSES

                                                                        5                  For and as a separate and affirmative defense to each and every claim for relief set forth

                                                                        6   in the Complaint, Defendant alleges as follows.

                                                                        7                  For purposes of these affirmative defenses, the term “Plaintiffs” incorporates and

                                                                        8   includes Plaintiffs RICHARD MARIN and SAMANTHA LOPEZ and/or similarly situated employees

                                                                        9   of Defendant whom they purport to represent.

                                                                       10

                                                                       11                                    FIRST AFFIRMATIVE DEFENSE

                                                                       12                                             (Statute of Limitations)

                                                                       13                  That some or all of Plaintiffs’ claims and/or some or all of the claims of the similarly

                                                                       14   situated employees they purport to represent are barred in whole or in part by the applicable statutes of

                                                                            limitations, including but not limited to, those limitations set forth in California Code of Civil
                 501 WEST BROADWAY, SUITE 1610




                                                                       15
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                                                 SAN DIEGO, CA 92101




                                                                       16   Procedure §§ 338, 340, 343 and California Labor Code § 203.

                                                                       17

                                                                       18                                   SECOND AFFIRMATIVE DEFENSE

                                                                       19                                                    (Laches)

                                                                       20                  The Complaint, and each purported cause of action alleged therein, is barred in whole

                                                                       21   or in part by the doctrine of laches.

                                                                       22

                                                                       23                                    THIRD AFFIRMATIVE DEFENSE

                                                                       24                                                   (Estoppel)

                                                                       25                  Defendant is informed and believes, and on this basis alleges, that Plaintiffs and/or the

                                                                       26   similarly situated employees they purport to represent are estopped by their own actions and conduct

                                                                       27   from asserting any cause of action against Defendant. The following allegations are likely to have

                                                                       28   evidentiary support after a reasonable opportunity to conduct further investigation and/or discovery:

                                                                                                                       2
                                                                                   DEFENDANT CARGILL MEAT SOLUTIONS CORPORATION’S ANSWER TO COMPLAINT
                                                                                                            Case No: 22CECG00573
                                                                               Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 49 of 64

                                                                        1   Plaintiffs and/or the similarly situated employees they purport to represent, by either their statements

                                                                        2   or conduct, have caused Defendant to believe something to be true and to act on that belief.

                                                                        3

                                                                        4                                  FOURTH AFFIRMATIVE DEFENSE

                                                                        5                                                   (Waiver)

                                                                        6                  Defendant is informed and believes that Plaintiffs and/or the similarly situated

                                                                        7   employees they purport to represent have engaged in conduct and activity sufficient to constitute waiver

                                                                        8   of any right to assert the claims upon which he or they now seek relief. The following allegations are

                                                                        9   likely to have evidentiary support after a reasonable opportunity to conduct further investigation and/or

                                                                       10   discovery: Plaintiffs and/or the similarly situated employees they purport to represent had knowledge

                                                                       11   of an existing right and intended to waive or forego that right through his or their words and/or conduct.

                                                                       12

                                                                       13                                    FIFTH AFFIRMATIVE DEFENSE

                                                                       14                                                  (Consent)

                                                                                           Defendant is informed and believes, and on this basis allege, that Plaintiffs and/or the
                 501 WEST BROADWAY, SUITE 1610




                                                                       15
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                                                 SAN DIEGO, CA 92101




                                                                       16   similarly situated employees they purport to represent are unable to state a cause of action against

                                                                       17   Defendant because Plaintiffs and/or the similarly situated employees they purport to represent

                                                                       18   consented to any and all action allegedly taken by Defendant.

                                                                       19

                                                                       20                                   SIXTH AFFIRMATIVE DEFENSE

                                                                       21                                              (Unclean Hands)

                                                                       22                  That some or all of Plaintiffs’ and/or some or all of the claims of the allegedly

                                                                       23   aggrieved/similarly situated they purport to represent are barred by the doctrine of unclean hands.

                                                                       24

                                                                       25

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                                                                                                                       3
                                                                                   DEFENDANT CARGILL MEAT SOLUTIONS CORPORATION’S ANSWER TO COMPLAINT
                                                                                                            Case No: 22CECG00573
                                                                               Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 50 of 64

                                                                        1                                 SEVENTH AFFIRMATIVE DEFENSE

                                                                        2                                            (Failure to Mitigate)

                                                                        3                  While denying any wrongdoing or damage to Plaintiffs and/or the similarly situated

                                                                        4   employees they purport to represent, Defendant alleges that the claimed recovery is barred or

                                                                        5   diminished by a failure to mitigate.

                                                                        6

                                                                        7                                  EIGHTH AFFIRMATIVE DEFENSE

                                                                        8                                                   (Offset)

                                                                        9                  Defendant is entitled to an offset against any relief due Plaintiff and/or the similarly

                                                                       10   situated persons they purport to represent for payments made to which Plaintiff and/or the similarly

                                                                       11   situated persons they purport to represent to which they were not legally entitled.

                                                                       12

                                                                       13                                   NINTH AFFIRMATIVE DEFENSE

                                                                       14                                          (Avoidable Consequences)

                                                                                           Plaintiff’s Complaint is barred, in whole or in part, under the avoidable consequences
                 501 WEST BROADWAY, SUITE 1610




                                                                       15
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                                                                       16   doctrine. Defendant had procedures in place for reporting any issues, which Plaintiff and/or the

                                                                       17   similarly situated persons they purport to represent unreasonably failed to use, and the reasonable use

                                                                       18   of Defendant’s preventive and corrective measures would have prevented some or all of the harm

                                                                       19   Plaintiff and/or the similarly situated persons they purports to represent allegedly suffered.

                                                                       20

                                                                       21                                   TENTH AFFIRMATIVE DEFENSE

                                                                       22                                            (Actions Authorized)

                                                                       23                  To the extent, if any, that Defendant withheld or diverted any portion of any wages of

                                                                       24   any employee, Defendant was authorized to do so pursuant to California Labor Code § 224.

                                                                       25

                                                                       26

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                                                                       28

                                                                                                                       4
                                                                                   DEFENDANT CARGILL MEAT SOLUTIONS CORPORATION’S ANSWER TO COMPLAINT
                                                                                                            Case No: 22CECG00573
                                                                               Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 51 of 64

                                                                        1                                  ELEVENTH AFFIRMATIVE DEFENSE

                                                                        2                                   (Failure to Comply With Directions)

                                                                        3                  Plaintiffs’ Complaint is barred by California Labor Code § 2856 to the extent that

                                                                        4   Plaintiffs and/or any of the similarly situated employees they purport to represent, failed substantially

                                                                        5   to comply with all the directions of Defendant, and such failure proximately caused the alleged losses

                                                                        6   for which they seek relief.

                                                                        7

                                                                        8                                  TWELFTH AFFIRMATIVE DEFENSE

                                                                        9                                           (Good Faith Dispute)

                                                                       10                  For and as a separate and affirmative defense to the fourth cause of action in the

                                                                       11   Complaint, Defendant alleges that Plaintiffs’ claims based on § 203 of the California Labor Code fail

                                                                       12   because Defendant has defenses, based on law or equity which, if successful, would preclude any

                                                                       13   recovery on the part of Plaintiffs and/or any of the similarly situated employees they purport to

                                                                       14   represent.
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                                                                       16                                 THIRTEENTH AFFIRMATIVE DEFENSE

                                                                       17                                      (Lack of Standing - Individual)

                                                                       18                  Plaintiffs and/or the similarly situated employees they purport to represent lack standing

                                                                       19   under the California Labor Code to bring some or all of the claims alleged against Defendant.

                                                                       20

                                                                       21                                 FOURTEENTH AFFIRMATIVE DEFENSE

                                                                       22                                                  (Release)

                                                                       23                  To the extent Plaintiffs and/or the similarly situated employees they purport to represent

                                                                       24   have executed, or are subject to, a settlement agreement or release encompassing the claims alleged in

                                                                       25   the Complaint, their claims are barred by that release.

                                                                       26

                                                                       27

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                                                                                                                       5
                                                                                   DEFENDANT CARGILL MEAT SOLUTIONS CORPORATION’S ANSWER TO COMPLAINT
                                                                                                            Case No: 22CECG00573
                                                                               Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 52 of 64

                                                                        1                                FIFTEENTH AFFIRMATIVE DEFENSE

                                                                        2                                       (Damaged by Own Conduct)

                                                                        3                  Defendant alleges that, should it be determined that Plaintiffs and/or the similarly

                                                                        4   situated employees they purport to represent have been damaged, then said damages were proximately

                                                                        5   caused by their own conduct.

                                                                        6

                                                                        7                                SIXTEENTH AFFIRMATIVE DEFENSE

                                                                        8                           (Failure to Return to Office for Payment of Wages)

                                                                        9                  For and as a separate and affirmative defense to the fourth cause of action in the

                                                                       10   Complaint, Defendant alleges that the claims of Plaintiffs and/or the similarly situated employees they

                                                                       11   purport to represent for waiting time penalties should be denied because they failed to return to the

                                                                       12   location in which they worked for payment of wages as required by the California Labor Code,

                                                                       13   including but not limited to section 208 thereto.

                                                                       14
                                                                                                       SEVENTEENTH AFFIRMATIVE DEFENSE
                 501 WEST BROADWAY, SUITE 1610




                                                                       15
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                                                                       16                  (Good Faith – Reliance on Legislative or Administrative Authority)

                                                                       17                  Defendant’s alleged failure to pay Plaintiffs and/or the similarly situated employees they

                                                                       18   purport to represent wages, if at all, was in good faith in conformity with and in reliance on an

                                                                       19   administrative regulation, order, ruling, approval, interpretation, administrative practice, and/or

                                                                       20   enforcement policy of the California’s Industrial Welfare Commission, United States Department of

                                                                       21   Labor, and/or other governmental agencies.

                                                                       22

                                                                       23                              EIGHTEENTH AFFIRMATIVE DEFENSE

                                                                       24                                            (No Willful Actions)

                                                                       25                  For and as a separate and affirmative defense to the fourth cause of action in the

                                                                       26   Complaint, Defendant alleges that Plaintiffs’ claims based on § 203 of the California Labor Code fail

                                                                       27   because Defendant’s actions were not “willful” under California Labor Code section 203.

                                                                       28

                                                                                                                       6
                                                                                   DEFENDANT CARGILL MEAT SOLUTIONS CORPORATION’S ANSWER TO COMPLAINT
                                                                                                            Case No: 22CECG00573
                                                                               Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 53 of 64

                                                                        1                              NINETEENTH AFFIRMATIVE DEFENSE

                                                                        2                                                (Good Faith)

                                                                        3                  Defendant alleges that Plaintiffs and/or the similarly situated employees they purport to

                                                                        4   represent were treated fairly and in good faith, and that all actions taken with regard to them by

                                                                        5   Defendant were taken for lawful business reasons and in good faith.

                                                                        6

                                                                        7                               TWENTIETH AFFIRMATIVE DEFENSE

                                                                        8                                    (Reasonable Belief of No Violation)

                                                                        9                  Defendant alleges that any violation of the California Labor Code or of a Wage Order

                                                                       10   of the Industrial Welfare Commission was an act or omission made in good faith, and that in any

                                                                       11   participation in such acts, Defendant had reasonable grounds for believing that the act or omission was

                                                                       12   not a violation of the California Labor Code or any Wage Order of the Industrial Welfare Commission.

                                                                       13

                                                                       14                             TWENTY-FIRST AFFIRMATIVE DEFENSE
                                                                                                     (Defendant’s Conduct Not Willful or Intentional)
                 501 WEST BROADWAY, SUITE 1610




                                                                       15
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                                                                       16                  Defendant alleges that assuming, arguendo, that Plaintiffs and/or the similarly situated

                                                                       17   employees they purport to represent are entitled to additional compensation, Defendant has not

                                                                       18   willfully or intentionally failed to pay any such additional compensation to Plaintiffs and/or the

                                                                       19   similarly situated employees they purport to represent to justify any awards of penalties or fees.

                                                                       20

                                                                       21                            TWENTY-SECOND AFFIRMATIVE DEFENSE

                                                                       22                       (No Injury As A Result Of Violation of Labor Code § 226)

                                                                       23                  For and as a separate and affirmative defense to the fifth cause of action in the

                                                                       24   Complaint, Defendant alleges that neither Plaintiffs nor and/or the similarly situated employees they

                                                                       25   purport to represent have suffered any injury as a result of any alleged violation of Labor Code section

                                                                       26   226 and therefore are barred from recovering penalties.

                                                                       27

                                                                       28

                                                                                                                       7
                                                                                   DEFENDANT CARGILL MEAT SOLUTIONS CORPORATION’S ANSWER TO COMPLAINT
                                                                                                            Case No: 22CECG00573
                                                                               Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 54 of 64

                                                                        1                             TWENTY-THIRD AFFIRMATIVE DEFENSE

                                                                        2                                    (Improper Remedy Sought – 17200)

                                                                        3                  As a separate and affirmative defense to Plaintiffs’ tenth cause of action under Business

                                                                        4   & Professions Code sections 17200, et seq., Defendant alleges that it is barred to the extent that it seeks

                                                                        5   a remedy other than restitution or injunctive relief.

                                                                        6

                                                                        7                            TWENTY-FOURTH AFFIRMATIVE DEFENSE

                                                                        8                                     (Abstention/Preemption – 17200)

                                                                        9                  As a separate and affirmative defense to Plaintiffs’ tenth cause of action under Business

                                                                       10   & Professions Code sections 17200, et seq., Defendant alleges that its conduct is regulated by a detailed

                                                                       11   and comprehensive enforcement scheme established under California law and Plaintiffs’ claims under

                                                                       12   Business & Professions Code sections 17200, et seq. purport to establish an impermissible form of state

                                                                       13   court regulations.

                                                                       14
                                                                                                       TWENTY-FIFTH AFFIRMATIVE DEFENSE
                 501 WEST BROADWAY, SUITE 1610




                                                                       15
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                                                 SAN DIEGO, CA 92101




                                                                       16                                      (Absolute Bar to Relief – 17200)

                                                                       17                  As a separate and affirmative defense to Plaintiffs’ tenth cause of action under Business

                                                                       18   & Professions Code sections 17200, et seq., Defendant alleges that Plaintiffs’ cause of action for

                                                                       19   Business & Professions Code sections 17200, et seq. cannot be used to state a cause of action the gist

                                                                       20   of which is absolutely barred under the California Labor Code.

                                                                       21

                                                                       22                              TWENTY-SIXTH AFFIRMATIVE DEFENSE

                                                                       23                                         (Adequate Remedy at Law)

                                                                       24                  As a separate and affirmative defense to Plaintiffs’ tenth cause of action under Business

                                                                       25   & Professions Code sections 17200, et seq., Defendant alleges that Plaintiffs’ restitution remedy is

                                                                       26   barred because they have an adequate remedy under the California Labor Code.

                                                                       27

                                                                       28

                                                                                                                       8
                                                                                   DEFENDANT CARGILL MEAT SOLUTIONS CORPORATION’S ANSWER TO COMPLAINT
                                                                                                            Case No: 22CECG00573
                                                                               Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 55 of 64

                                                                        1                            TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                                                                        2                                          (Equitable Relief Barred)

                                                                        3                   While denying any wrongdoing or damage to Plaintiffs and the putative class, to the

                                                                        4   extent that Plaintiffs makes claims for injunctive and other equitable relief, those claims are barred

                                                                        5   because Plaintiffs have an adequate and complete remedy at law.

                                                                        6

                                                                        7                                TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                                                                        8                                             (Conflicts of Interest)

                                                                        9                   Certain of the interests of one or more sub-groups of the members of the alleged class

                                                                       10   of persons Plaintiffs purport to represent are in conflict with certain of the interests of one or more

                                                                       11   other sub-groups of the members of the alleged class of persons which Plaintiffs purports to represent.

                                                                       12

                                                                       13                                TWENTY-NINTH AFFIRMATIVE DEFENSE

                                                                       14                                                 (Preemption)

                                                                                            The Complaint, and each purported cause of action alleged therein, is preempted, in
                 501 WEST BROADWAY, SUITE 1610




                                                                       15
COZEN O'CONNOR

                                                 SAN DIEGO, CA 92101




                                                                       16   whole or in part, by a federal, state or local law.

                                                                       17

                                                                       18                                  THIRTIETH AFFIRMATIVE DEFENSE

                                                                       19                                         (Class Action Requirements)

                                                                       20                   Plaintiff’s Complaint is barred because Plaintiff cannot meet the requirements to certify

                                                                       21   a class for the claims in the Complaint, including but not limited to, (1) the proposed class is not

                                                                       22   sufficiently numerous or ascertainable; (2) common issues of law and fact do not predominate; (3) the

                                                                       23   claims of the proposed class representatives are not typical of the class; (4) the proposed class

                                                                       24   representatives cannot adequately represent the class; and, (5) a class action is not the superior means

                                                                       25   to resolve the litigation.

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                                                                                   DEFENDANT CARGILL MEAT SOLUTIONS CORPORATION’S ANSWER TO COMPLAINT
                                                                                                            Case No: 22CECG00573
                                                                               Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 56 of 64

                                                                        1                                       ADDITIONAL DEFENSES

                                                                        2                  Defendant presently has insufficient knowledge or information upon which to form a

                                                                        3   belief whether there may be additional, as yet unstated, defenses and reserves the right to assert

                                                                        4   additional defenses in the event that discovery indicates that such defenses are appropriate.

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                                                                        6                                         PRAYER FOR RELIEF

                                                                        7                  WHEREFORE, Defendant pray as follows:

                                                                        8                  1.      Plaintiffs take nothing by the Complaint and the Complaint be dismissed with

                                                                        9   prejudice;

                                                                       10                  2.      That judgment be entered in favor of Defendant on all claims;

                                                                       11                  3.      For costs of suit and reasonable attorneys’ fees incurred herein; and

                                                                       12                  4.      For such other and further relief as this Court deems proper.

                                                                       13
                                                                             Dated: May 12, 2022                                  COZEN O'CONNOR
                                                                       14
                 501 WEST BROADWAY, SUITE 1610




                                                                       15
COZEN O'CONNOR

                                                 SAN DIEGO, CA 92101




                                                                       16                                                         By:
                                                                                                                                        Jason Barsanti
                                                                       17                                                               Attorneys for Defendant
                                                                                                                                        CARGILL MEAT SOLUTIONS
                                                                       18                                                               CORPORATION

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                                                                                   DEFENDANT CARGILL MEAT SOLUTIONS CORPORATION’S ANSWER TO COMPLAINT
                                                                                                            Case No: 22CECG00573
                                                                                Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 57 of 64


                                                                            1                                    PROOF OF SERVICE

                                                                            2        I, Julia A. Neymark, declare that I am employed at Cozen O’Connor, whose address
                                                                              is 101 Montgomery St, Suite 1400, San Francisco, CA 94104; I am over the age of eighteen
                                                                            3 (18) years and am not a party to this action. On the below date, by the method noted
                                                                              below, I served the following document(s):
                                                                            4
                                                                                      DEFENDANT CARGILL MEAT SOLUTIONS CORPORATION’S ANSWER TO
                                                                            5                                        COMPLAINT

                                                                            6 on the interested parties in this action by placing a true and correct copy thereof, enclosed
                                                                              in a sealed envelope addressed as follows:
                                                                            7
                                                                               James R. Hawkins
                                                                            8 JAMES HAWKINS APLC                              Attorney for Plaintiffs: Richard Marin and
                                                                               9880 Research Drive, Suite 200                 Samantha Lopez
                                                                            9 Irvine, CA 92618

                                                                           10 Tel: (949) 387-7200
                                                                              Fax: (949) 387-6676
                                                                           11

                                                                           12
                                                                                 BY ELECTRONIC MAIL: By sending a portable document format (pdf) copy of the
                 101 MONTGOMERY ST, SUITE 1400




                                                                                  documents to email address: James@jameshawkinsaplc.com
                                                 SAN FRANCISCO, CA 94104




                                                                           13
COZEN O’CONNOR




                                                                           14
                                                                               BY MAIL: By placing a true copy thereof enclosed in a sealed envelope with postage
                                                                           15   thereon fully prepaid, in the ordinary course of business for collection and mailing on
                                                                                this date at Cozen O’Connor, 101 Montgomery St, Suite 1400, San Francisco, CA
                                                                           16   94104. I declare that I am readily familiar with the business practice of Cozen
                                                                                O’Connor for collection and processing of correspondence for mailing with the United
                                                                           17   States Postal Service and that the correspondence would be deposited with the United
                                                                                States Postal Service that same day in the ordinary course of business.
                                                                           18
                                                                               [State] I declare under penalty of perjury under the laws of the State of California that
                                                                           19   the foregoing is true and correct.

                                                                           20
                                                                                Dated: May 12, 2022
                                                                           21                                                Julia A. Neymark

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                                                                                                                   PROOF OF SERVICE
                                                                                                            State Court Case No.: 22CECG00573
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 58 of 64




       EXHIBIT D
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 59 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 60 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 61 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 62 of 64
Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 63 of 64
                                                                                Case 1:22-cv-00578-KES-SKO Document 1 Filed 05/13/22 Page 64 of 64


                                                                            1                                 CERTIFICATE OF SERVICE

                                                                            2        I, Julia A. Neymark, declare that I am employed at Cozen O’Connor, whose address
                                                                              is 101 Montgomery St, Suite 1400, San Francisco, CA 94104; I am over the age of eighteen
                                                                            3 (18) years and am not a party to this action. On the below date, by the method noted
                                                                              below, I served the following document(s):
                                                                            4
                                                                                    DEFENDANT’S NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1331,
                                                                            5                    1332(d)(2), 1441, 1446, AND 1453 WITH EXHIBITS A-D

                                                                            6                 DEFENDANT’S CORPORATE DISCLOSURE STATEMENT

                                                                            7                                     CIVIL COVER SHEET

                                                                            8
                                                                              on the interested parties in this action by placing a true and correct copy thereof, enclosed
                                                                            9 in a sealed envelope addressed as follows:

                                                                           10 James R. Hawkins
                                                                              JAMES HAWKINS APLC                             Attorney for Plaintiffs: Richard Marin and
                                                                           11 9880 Research Drive, Suite 200                 Samantha Lopez
                                                                              Irvine, CA 92618
                                                                           12
                                                                              Tel: (949) 387-7200
                 101 MONTGOMERY ST, SUITE 1400
                                                 SAN FRANCISCO, CA 94104




                                                                           13 Fax: (949) 387-6676
COZEN O’CONNOR




                                                                           14

                                                                           15  BY ELECTRONIC MAIL: By sending a portable document format (pdf) copy of the
                                                                                documents to email address: James@jameshawkinsaplc.com
                                                                           16

                                                                           17  BY MAIL: By placing a true copy thereof enclosed in a sealed envelope with postage
                                                                                thereon fully prepaid, in the ordinary course of business for collection and mailing on
                                                                           18   this date at Cozen O’Connor, 101 Montgomery St, Suite 1400, San Francisco, CA
                                                                                94104. I declare that I am readily familiar with the business practice of Cozen
                                                                           19   O’Connor for collection and processing of correspondence for mailing with the United
                                                                                States Postal Service and that the correspondence would be deposited with the United
                                                                           20   States Postal Service that same day in the ordinary course of business.

                                                                           21  [Federal] I declare that I am employed in the office of a member of the bar of this court
                                                                                at whose direction the service was made.
                                                                           22

                                                                           23 Dated: May 13, 2022
                                                                                                                             Julia A. Neymark
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                                                                                                                 CERTIFICATE OF SERVICE
